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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

EDWARD BARBER,                                 *
                                               *
               Petitioner                      *         Civil Case No. 08-3003-RWT
                                               *
               v.                              *
                                               *         Criminal Case No. 04-235-RWT
UNITED STATES OF AMERICA,                      *
                                               *
               Respondent                      *

                                  MEMORANDUM OPINION

       Petitioner filed this 28 U.S.C. § 2255 petition on November 10, 2008, to vacate, set aside,

or correct his sentence on the ground that his counsel was ineffective in failing to appeal. The

United States has moved to dismiss Petitioner’s motion as untimely filed.

                                             I. FACTS

       On December 1, 2006, pursuant to a plea agreement, Petitioner entered a guilty plea before

this Court to charges of conspiracy to distribute and possess with intent to distribute five kilograms

or more of cocaine, in violation of 21 U.S.C. § 846, and conspiracy to commit money laundering,

in violation of 18 U.S.C. § 1956(h). On February 27, 2007, Petitioner was sentenced to the statutory

mandatory minimum of 120 months imprisonment for his offenses.

       Petitioner now claims that his sentence should be vacated, set aside, or corrected due to

ineffective assistance of counsel. Specifically, he contends that prior to entering into a plea

agreement with the government, his attorneys explained to him that the only means of receiving a

sentence outside of the statutory mandatory minimum would be through the application of the




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“safety valve” provision of the federal sentencing guidelines.1 He further alleges that counsel

erroneously informed him that to qualify for this relief, Petitioner would have to testify against his

fellow defendants. Being averse to testifying against them, Petitioner entered into a plea agreement

with the government, whereby the statutory mandatory minimum remained in effect.

       Petitioner contends that several days before his sentencing, he discovered that his attorneys

had misconstrued the “safety valve” provision under the federal guidelines, as testifying at trial is

not a prerequisite for its application. Had he realized that he could have avoided the statutory

mandatory minimum sentence without testifying against the other defendants in his case, Petitioner

alleges that he would have sought application of the “safety valve” provision instead of accepting

the government’s plea agreement. When this issue was not raised at his sentencing, Petitioner

alleges that he informed his attorney, Mr. Edward Wilford, of his desire to appeal his sentence on

the ground that he did not make a fully informed decision concerning his plea agreement. Despite

this alleged request, no notice of appeal was filed with the Court following Petitioner’s sentencing.

       Petitioner remained in contact with his attorneys after his sentencing, but failed to inquire

about his appeal. On October 20, 2008, Petitioner wrote his attorneys, specifically raising the issue

of his appeal for the first time since his sentencing. Mr. Anthony Ricco responded to Petitioner’s




       1
         Section 5C1.2(a) of the U.S. Sentencing Guidelines Manual, colloquially referred to as the
“safety valve” provision, permits federal courts to “impose a sentence in accordance with the
applicable guidelines without regard to any statutory minimum sentence” when a defendant meets
the five criteria set forth in 18 U.S.C. § 3553(f), none of which requires the defendant to testify
against his co-defendants at trial. U.S.S.G. § 5C1.2(a)(5) does require a defendant to truthfully
provide to the Government “all information and evidence the defendant has concerning the offense,”
but does not require him to testify.

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letter, informing him that no notice of appeal had been filed in his case.2 Petitioner then filed this

§ 2255 motion on November 10, 2008, more than one year and eight months after this Court

rendered his sentence.

                                          II. DISCUSSION

        In the Antiterrorism and Effective Death Penalty Act, Congress established a strict one-year

time limitation for collaterally attacking a criminal sentence pursuant to 28 U.S.C. § 2255. This

limitation is to run “from the latest of” four possible periods:

        (1) the date on which the judgment of conviction becomes final;

        (2) the date on which the impediment to making a motion created by
        governmental action in violation of the Constitution or laws of the United States
        is removed, if the movant was prevented from making a motion by such
        governmental action;

        (3) the date on which the right asserted was initially recognized by the Supreme
        Court, if that right has been newly recognized by the Supreme Court and made
        retroactively applicable to cases on collateral review; or

        (4) the date on which the facts supporting the claim or claims presented could have
        been discovered through the exercise of due diligence.

28 U.S.C. § 2255(f).

        In his Reply Brief, Petitioner concedes that his § 2255 motion was not filed within one year

of “the date on which the judgment of conviction” became final in this case. 28 U.S.C. § 2255(f)(1).

However, he contends that subsection (4) of 28 U.S.C. § 2255(f) governs his motion, as he allegedly




        2
          Specifically, Mr. Ricco informed Petitioner that he had: (1) waived his right to appeal his
sentence as part of his negotiated plea agreement with the government, (2) verbally acknowledged
his waiver of appeal at his plea allocution before this Court, and (3) failed to raise the issue of appeal
to his attorneys until this juncture. Consequently, Petitioner was informed that no sentencing appeal
had been filed on his behalf.

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did not uncover the facts supporting his § 2255 claim through the exercise of due diligence until

October 24, 2008, well after his judgment was final.3

        In the context of § 2255 motions, the Supreme Court has held that due “diligence can be

shown by prompt action on the part of the petitioner as soon as he is in a position to realize that he

has an interest in challenging the prior conviction.” Johnson v. United States, 544 U.S. 295, 308

(2005) (emphasis added). Here, Petitioner contends that he discovered his counsel’s alleged

misrepresentation of the “safety valve” provision several days prior to his sentencing on February

27, 2007. He alleges that after this Court rendered a sentence imposing the statutory mandatory

minimum, he requested his counsel to appeal the sentence on the ground that he was inadequately

informed of the options available to him at the plea bargain stage. To be timely, this appeal would

have had to have been filed within ten business days4 of the sentencing, or March 13, 2007. Fed.

R. App. P. 4(b)(1)(A).

        Some twenty months later, on October 20, 2008, Petitioner inquired of his attorneys about

the status of his appeal, by his own admission raising the issue for the first time since his sentencing.

In a letter dated October 24, 2008, which the Petitioner provided to the Court, Mr. Ricco informed

Petitioner that no appeal had been filed on his behalf.5 Petitioner alleges that this letter constitutes

his initial discovery of the facts supporting his claim of ineffective assistance of counsel.




        3
        Neither party has argued that subsection (2) or subsection (3) of 28 U.S.C. § 2255(f) is
applicable to the facts of this case.
        4
        Fed. R. Crim. P. 45(a)(2) instructs courts to “[e]xclude intermediate Saturdays, Sundays,
and legal holidays when” calculating time periods “less than 11 days.”
        5
         Notably, Mr. Ricco also stated that he had discussed the matter with Mr. Wilford, who
informed him that Petitioner had never requested that his sentence be appealed.

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        However, the limitations period in 28 U.S.C. § 2255(f)(4) does not run from the actual

discovery of facts supporting a collateral attack, but rather from the date on which those facts could

have been discovered through the exercise of due diligence. The substantial period of time between

Petitioner’s alleged first request for an appeal and his follow-up discussion with his attorneys

regarding the status of that request falls well short of the “prompt action” necessary to restart the

limitation period. Johnson, 544 U.S. at 308. Petitioner has indicated that he was in regular contact

with his attorneys since his sentencing on February 27, 2007. While the earliest possible moment

that Petitioner was “in a position to realize,” Johnson, 544 U.S. at 308, that he had a potential claim

for vacating, setting aside, or correcting his sentence would have been the day after the federal

deadline for filing a notice of appeal expired, at the very least, Petitioner should have recognized that

something was amiss before twenty months of post-sentencing discussions with his attorneys had

passed, wherein not one mention of his appeal had been made. The Court cannot find such

extraordinary oversight to constitute “due diligence” under 28 U.S.C. § 2255(f)(4).6 Consequently,

Petitioner’s § 2255 motion will be dismissed as untimely filed.




        6
         Nor is the Court inclined to equitably toll § 2255’s limitation period under the
circumstances. The Fourth Circuit has held that the doctrine of equitable tolling is to be invoked
sparingly, “reserved for those rare instances where – due to circumstances external to the party's own
conduct – it would be unconscionable to enforce the limitation period against the party and gross
injustice would result.” Harris v. Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000). Such is not the
case here.

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                                       III. CONCLUSION

       For the foregoing reasons, the Court will, by separate order, grant the Government’s

motion to dismiss Petitioner’s § 2255 motion to vacate, set aside, or correct his sentence.



Date: August 13, 2009                               /s/
                                       ROGER W. TITUS
                                       UNITED STATES DISTRICT JUDGE




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